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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA
---------------------------------------------------------------x
DAVID PRICE,                                                   :
an individual,                                                 : CASE NO.:
                                                               :
                  Plaintiff,                                   :
                                                               :
vs.                                                            :
                                                               :
INLAND WESTERN BATON ROUGE, L.L.C.,                            :
a Delaware Limited Liability Company,                          :
                                                               :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                                          COMPLAINT

       Plaintiff, DAVID PRICE, by and through his undersigned counsel, hereby files this

Complaint and sues INLAND WESTERN BATON ROUGE, L.L.C., a Delaware Limited Liability

Company, for declaratory and injunctive relief, attorneys’ fees, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq., and alleges:

                               JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the Americans

       With Disabilities Act, 42 U.S.C. ' 12181 et seq. (hereinafter referred to as the “ADA”). This

       Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, DAVID PRICE, (hereinafter referred to as AMR. PRICE@ or “PLAINTIFF”), is a

       resident of Jefferson Parish, Louisiana.

4.     MR. PRICE is a qualified individual with a disability under the ADA. MR. PRICE was

       injured in a motorcycle accident and is paralyzed from the waist down. MR. PRICE is a T11


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      complete paraplegic and uses a wheelchair for mobility.

5.    Due to his disability, PLAINTIFF is substantially impaired in several major life activities and

      requires a wheelchair for mobility.

6.    Upon information and belief, Defendant INLAND WESTERN BATON ROUGE, L.L.C.,

      a Delaware Limited Liability Company registered to do business in the State of Louisiana

      (hereinafter referred to as “DEFENDANT”), is the owner, lessee, lessor and/or operator of

      the real properties and improvements which is the subject of this action, to wit: “Bluebonnet

      Parc,” generally located at 5909-5921 Bluebonnet Blvd., Baton Rouge, Louisiana 70836.

      The DEFENDANT is obligated to comply with the ADA.

7.    All events giving rise to this lawsuit occurred in the Middle District of Louisiana, East Baton

      Rouge Parish, Louisiana.

                     COUNT I - VIOLATION OF TITLE III OF THE
                            AMERICANS WITH DISABILITIES ACT

8.    PLAINTIFF realleges and reavers Paragraphs 1 - 7 as if they were expressly restated herein.

9.    The Property, a shopping center, is a public accommodation, subject to the ADA, generally

      located at: 5909-5921 Bluebonnet Blvd., Baton Rouge, Louisiana 70836.

10.   MR. PRICE has visited the Property numerous times and plans to visit the Property again

      in the near future.

11.   During these visits, MR. PRICE experienced serious difficulty accessing the goods and

      utilizing the services therein due to the architectural barriers as discussed in paragraph 14 of

      this Complaint.

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12.   MR. PRICE continues to desire to visit the DEFENDANT’S Property, but continues to

      experience serious difficulty due to the barriers discussed in Paragraph 14 which still exist.

13.   MR. PRICE intends to and will visit the DEFENDANT’S Property to utilize the goods and

      services in the future, but fears that he will encounter the same barriers to access which are

      the subjects of this action.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and is

      discriminating against the Plaintiff due to, but not limited to, its failure to provide and/or

      correct the following barriers to access which were observed and/or encountered by and has

      hindered the Plaintiff’s access:

              A.      inaccessible parking spaces designated as accessible due to slopes in excess

                      of 2%;

              B.      inaccessible routes to entries due to excessive slopes and lack of level landing

                      at entrance doors;

              C.      inaccessible curb cuts due to excessively sloped side flares;

              D.      inaccessible counters within tenant spaces due to excessive heights;

              E.      inaccessible entrances due to presence of merchandise; and

              F.      inaccessible merchandise aisles due to inadequate clear width.

15.   Furthermore, DEFENDANT continues to discriminate against PLAINTIFF by failing to

      make reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to provide PLAINTIFF an equal opportunity to participate in, or benefit from,

      the goods, services, facilities, privileges, advantages, and accommodations which

      DEFENDANT offers to the general public; and by failing to take such efforts that may be


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       necessary to ensure that no individual with a disability is excluded, denied services,

       segregated, or otherwise treated differently than other individuals because of the absence of

       auxiliary aids and services.

16.    To date, all barriers to access and ADA violations still exist and have not been remedied or

       altered in such a way as to effectuate compliance with the provisions of the ADA, even

       though removal is readily achievable.

17.    Removal of the discriminatory barriers to access located on the Property is readily

       achievable, reasonably feasible, easily accomplished, and would not place an undue burden

       on DEFENDANT.

18.    Removal of the barriers to access located on the Property would provide PLAINTIFF an

       equal opportunity to participate in, or benefit from, the goods, services, and accommodations

       which DEFENDANT offers to the general public.

19.    Independent of his intent to return as a patron to the Property, PLAINTIFF additionally

       intends to return as an ADA tester to determine whether the barriers to access stated herein

       have been remedied.

20.    PLAINTIFF has been obligated to retain the undersigned counsel for the filing and

       prosecution of this action. PLAINTIFF is entitled to have his reasonable attorneys’ fees,

       costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.

       WHEREFORE, PLAINTIFF demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

       A.      That this Court Declare that the Property owned, leased and/or operated by

               DEFENDANT is in violation of the ADA;


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B.      That this Court enter an Order directing DEFENDANT to alter the facility to make

        it accessible to and useable by individuals with disabilities to the full extent required

        by Title III of the ADA;

C.      That this Court enter an Order directing DEFENDANT to evaluate and neutralize its

        policies, practices, and procedures towards persons with disabilities for a reasonable

        amount of time, allowing implementation and completion of corrective procedures;

D.      That this Court award reasonable attorneys’ fees, costs (including expert fees), and

        other expenses of suit, to PLAINTIFF; and

E.      That this Court award such other and further relief as it deems necessary, just and

        proper.

                                                Respectfully Submitted,
                                                KU & MUSSMAN, P.A.
                                                12550 Biscayne Blvd., Suite 406
                                                Miami, FL 33181
                                                Tel: (305) 891-1322
                                                Fax: (305) 891-4512
                                                Email: Ryan@kumussman.com

                                            By: /s/ M. Ryan Casey
                                               M. Ryan Casey, Esq.
                                               LA Bar ID No.: 31092
                                               Attorney for Plaintiff




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